 

Case 2:99-cr-20008-.]PI\/| Document 78 Filed 08/31/05 Page 1 of 3 Page|D 667
IN THE UNITED STATES DISTRICT COURT F”_ED Bv
FOR THE WESTERN DISTRICT OF TENNESSEE ’ ~ - D_c_
WESTERN DIVISION 05 du
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Ct£a “F"’*li"' Gvi)tt)
UNITED srATEs oF AMERiCA ) ita » `Fi§§§§§lj!?r
) ""-=:'rr ,-“)
Plaintiff, )
)
VS ) CASE NO. 2:99CR20008-M1
)
JEFFREY HOUSTON )
)
Defendant. )
)

 

ORDER TO SURRENDER

 

The defendant, Jeffrey Houston, having been sentenced in the above case to the custody of the

Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS

HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to FCI-MEMPHIS, SCP, 1 101

John A. Denie Road, Memphis, TN 38134 by 2:00 p.m. on FRIDAY, SEPTEMBER 30, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall sign

one copy of this Order in the proper space below and return it to the Clerk of the Court in the enclosed self-

addressed envelope, acknowledging that he/she has received a copy of this Order, and that he/She Will

report as ordered to the facility named above.

ENTERED this the(_j_ day of August, 2005

samth

 

M PHIPPS McCALLA
ITED sTATEs DIsTRIcT JUDGE

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ACKNOWLEDGEMENT

 

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed:

 

Defendant

Date:

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 78 in
case 2:99-CR-20008 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

ENNESSEE

 

Stephen P. Hall

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Honorable .l on l\/lcCalla
US DISTRICT COURT

